

People v Zimmerman (2022 NY Slip Op 02633)





People v Zimmerman


2022 NY Slip Op 02633


Decided on April 21, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 21, 2022

Before: Manzanet-Daniels, J.P., Kern, Singh, Kennedy, Mendez, JJ. 


SCI No. 2606/18 Appeal No. 15776 Case No. 2019-2316 

[*1]The People of the State of New York, Respondent,
vBryce Zimmerman, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Heidi Bota of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Rachel Bond of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Patricia Nunez, J. and Laurie Peterson, J. at pleas; Guy Mitchell, J. at sentencing), rendered January 03, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 21, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








